 

Pro Se | (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT
for the Clerk

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U.S, fXstrict Court

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Tames R. W Alton
| / WAItOA .
Helen R Case No. Lit-me-do

(to be filled in by the Clerk’s Office)

 

Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
Uf the names of all the plaintiffs cannot fit in the space above,
please write ‘see attached” in the space and attach an additional
page with the full list of names.)

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)
) Jury Trial: (check one) [] Yes []No
)
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~V~ )
, 4 64GP ‘cee ef al
Carrington Mort gage SETVi ce )
Bemk of Ameria
Tayler, Been Whitaker — )
Defendant(s) )
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page )
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed. JH MES ~ WAITM
Name Helen - WA [tow

Street Address {725 kyr gsS/¢y Ave

City and County AkKroa, QO 2: D €

State and Zip Code O40, 4 UY 31 3

Telephone Number 2 oF o oY 6 - // uf v4

E-mail Address WAlton £932 4: mail -lom

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (/known). Attach additional pages if needed.

Page | of 5

Case 1:17-cv-00330-TRM-SKL Document1 Filed 11/16/17 Page1iof14 PagelD#: 1
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
Defendant No. | Cav a 1G Fo n 110V 194 7 e SOTVIEE LLe

Name

Job or Title (known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Street Address Le {© EE Arde w fL, Susté BISO
City and County SG. n ta. AWA ‘
State and Zip Code Cal! forni & , G2a7o5
Telephone Number S26 Sé/- YS6 7
E-mail Address (if known)
Defendant No. 2 GB An K of Amérila
Name
Job or Title (if known)
Street Address / SO OD Th P O Can Yon Koad
City and County pe nas (le ”
State and Zip Code Cali for ate 926 ‘ 3
Telephone Number Ss 06~ 444 - HY 307.
E-mail Address (if known)
Defendant No. 3 T4Y/or, 5 ind WA teker Morigese lore
Name
Job or Title (if known)
Street Adres [Yj7_ North fhagnolia AVE
City and County O Ca la
State and Zip Code F/or) aa 2 YY 7S
| at

Telephone Number

E-mail Address (if known)

 

 

Defendant No. 4
Name
Job or Title (if known)
Street Address

 

 

 

City and County

State and Zip Code
Telephone Number
E-mail Address (ifknown)

 

 

 

 

Page 2 of $

Case 1:17-cv-00330-TRM-SKL Document1 Filed 11/16/17 Page 2of14 PagelD#: 2
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
I. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

a ”

. Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. Uf the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)
a. If the plaintiff is an individual

JA mes K. WA/¢ow , is a citizen of the

The plaintiff, (name) _ Wel ern A— AP +b ff

State of (name) Ch ; oO

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

under the laws of the State of (name) ,

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, fname)
the State of (name)

, is a citizen of

. Orisa citizen of

 

(foreign nation)

 

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Pro Se I (Rev. 12/16) Complaint for a Civil Case

b. If the defendant is a corporation .
Cacvingtow Mortgage
The defendant, (name) Serviles” .ts incorporated under

the laws of the State of (name) De lé War & , and has its

principal place of business in the State of (name) C a / ‘ Lov nige
Or is incorporated under the laws of (foreign nation) of >

 

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the

same information for each additional defendant.) . i,t thle
See tracted page
3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake~is more than $75,000, not counting interest and costs of court, because (explain):

 

Hi. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

See attacked PEGE

 

Iv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

unitive money damages. } - |
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Case 1:17-cv-00330-TRM-SKL Document1 Filed 11/16/17 Page 6of14 PagelD #: 6
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

 

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule I1.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

— Game Q. eller
Signature of Plaintiff Mele i: UO aAcgiyr
Printed Name of Plaintiff 7 meS IF. walfe a)
Helen  WaA/tov

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney
Bar Number

 

 

Name of Law Firm
Street Address
StateandZipCode ee eeseesesesesesesesesesesaesesai(‘it

 

Telephone Number
E-mail Address

 

 

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Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

UNITED STATES DISTRICT COURT

for the

C aster Y) _ District of 7 z nnessE tC

CVC 1 division
Ames R. WAIte
HHeltn kK. LIA IF en CaeNo eee

(to be filled in by the Clerk’s Office)

 

 

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint. If
the names of all the plaintiffs cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Jury Trial: (check one) C] Yes C] No

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Te llr, Bein 4+ Whitaker

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE
(28 U.S.C. § 1332; Diversity of Citizenship)

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach adiitional pages if
needed, He $ * Hite yy

Name Helen ‘ LW /fe

Street Address //z t Kin SSIEV AVE '

City and County FEC Yon

State and Zip Code (2D D 6O tf Y 3/ 2

Telephone Number ZOo- BY 6 -~tUy 3

E-mail Address Ua fow GG 3 é G nai le CO MN

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

Defendant a1 CATV INGTON Moy Foage Sevviles, bk ©

Name

Job or Title (ifknown)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 2

Name

Job or Title (ifknown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (ifknown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Case 1:17-cv-00330-TRM-SKL Documenti Filed 11/16/17

 

 

 

 

 

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Page 9o0f14 PagelD #: 9
Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence
H. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
the same State as any plaintiff. Explain how these jurisdictional requirements have been met.

A. The Plaintiff(s)

1. If the plaintiff is an individual Tames Rh. WAl for
The plaintiff, (name) “Helen fh. WwAIFo" _ , isacitizen of the

f

State of (name) O L t QO
2. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) >

and has its principal place of business in the State of jname)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

B. The Defendant(s)

I. If the defendant is an individual

The defendant, (name) , iS a citizen of

the State of (name) . Oris a citizen of

 

(foreign nation)

‘ ON
2. If the defendant is a corporation Cie ve ng f

The defendant, (name) pe Li LEY C_ , is incorporated under
the laws of the State of (name) Lo Gi /. C fe CY NEE , and has its

 

nor FG4GC S¢rvice$

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ,

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the

same information for each additional defendant.) S EC G 4 ft C i t d fa 5 ae

Cc. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

Page30f 5”

Case 1:17-cv-00330-TRM-SKL Document1 Filed 11/16/17 Page 10 0f14 PagelD #: 10
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Pro Se 5 (Rev. 12/16} Complaint for a Civil Case Alleging Negligence

 

Hi. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

On (date) LO ly of hat place) C ha + a ‘? OLGe, Tp EN): ,

the “on t(s): (1) performed acts that a person of ordinary prudencé i in the same or similar circumstances
would not have done; or (2) failed to perform acts that a person of ordinary prudence would have done under the
same or similar circumstat £es because (describe the acts or failures to act and why they were negliger

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Yéeviewe

The acts or omissions caused or contributed to the cause of the plaintiff's injuries by (explain) Sg 4
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tinting.

 

IV, Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.

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See at “fe

 

Page 4 of 5

Case 1:17-cv-00330-TRM-SKL Document1 Filed 11/16/17 Page 12 of 14 PagelD #: 12
Steterment of Claim.

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Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case~related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: tty M17 an
Qa-— @. Ue)
Vewow Welifw

{
PAPC S be WAI Ferd
B. For Attorneys PRA ER RR. WN Gp Tew

Signature of Plaintiff
Printed Name of Plaintiff

 

Date of signing:

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm

 

 

 

Street Address
State and Zip Code

 

 

Telephone Number
E-mail Address

 

 

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